AO 72A
(Rev. 8/82)

 

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Iu the Anited States District Court
for the Southern District of Georgia
Brunswick DBibision

STATE OF GEORGIA, et al., *
*
Plaintiffs, *
*
Vv. * No. 2:15-cv-79
*
ANDREW WHEELER, et al., *
*
Defendants. *
ORDER

Before the Court is a Motion to Withdraw as a party plaintiff
filed by the State of Wisconsin. Dkt. No. 252. After
consideration, and for good cause shown, and there being no

objection thereto, the motion is GRANTED. The Clerk is DIRECTED

    
 
  
    

to terminate the State of Wisconsin as a plai ff in this matter.

SO ORDERED, this 2% day of

 

ON. LIZA GODBEY WOOD, JUDGE
NITED/STATES DISTRICT COURT
OUTHERN DISTRICT OF GEORGIA

 
